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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- X
Nicholas MAGALIOS,                                              :
                                    Plaintiff,                  :   19-cv-6188 (CS)
                                                                :
                    – against –                                 :
                                                                :
C.O. Matthew PERALTA, et al.,                                   :
                                                                :
                                    Defendants.                 :
-------------------------------------------------------------- X




           MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
     MOTION FOR A NEW TRIAL, OR REMITTITUR OF THE DAMAGE AWARD




                                                               LETITIA A. JAMES
                                                               Attorney General
                                                               State of New York
                                                               Attorney for Defendants
                                                               28 Liberty Street
                                                               New York, New York 10005
                                                               (212) 416-6551




Jessica Acosta-Pettyjohn
Assistant Attorney General
        Of Counsel
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                                PRELIMINARY STATEMENT

        Plaintiff Nicholas Magalios (“Plaintiff”) brought this action pursuant to 42 U.S.C. § 1983

alleging that members of the New York State Department of Corrections and Community

Supervision (“DOCCS”), Defendants Mathew Peralta (“Peralta”) and Timothy Bailey (“Bailey”)

used excessive force, and Defendants Peralta, Bailey and Edward Blount (“Blount”) failed to

intervene during an alleged assault that occurred in the pat frisk area at Fishkill Correctional

Facility (“Fishkill”) on September 3, 2017. The case was tried before a jury between April 26-30,

2021. After deliberations, the jury returned a verdict finding Defendants jointly and severally

liable for $50,000 in compensatory damages. The jury also imposed punitive damages of $350,000

against Peralta, $350,000 against Bailey, and $250,000 against Blount.

       Defendants now move to renew their motion for a new trial or to vacate or remit the

damages awards. For the reasons discussed below, Defendants’ motions should be granted.1

                                   STANDARD OF REVIEW

       Pursuant to Rule 59 of the Federal Rules of Civil Procedure, “[a] court may grant a new

trial ‘for any reason for which a new trial has heretofore been granted in an action at law in federal

court....’ ” Graham v. City of New York, 128 F. Supp. 3d 681, 692–93 (E.D.N.Y. 2015)(quoting

Raedle v. Credit Agricole Indosuez, 670 F.3d 411, 417 (2d Cir.2012)(quoting Fed.R.Civ.P.

59(a)(1)(A)). Grounds for granting a new trial include a verdict that is against the weight of the

evidence, Manley v. AmBase Corp., 337 F.3d 237, 245 (2d Cir.2003), substantial errors in the

admission or exclusion of evidence, Stampf v. Long Island R.R. Co., 761 F.3d 192, 203 (2d

Cir.2014), prejudicial misconduct from counsel, Pappas v. Middle Earth Condo. Ass'n, 963 F.2d




1
  Because the Court is fully familiar with the underlying recent trial, Defendants do not include a
separate Statement of Facts section of their brief.
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534, 540 (2d Cir.1992), and non-harmless errors in jury instructions, United States v. Kozeny, 667

F.3d 122, 130 (2d Cir.2011), or verdict sheets, Armstrong ex rel. Armstrong v. Brookdale Univ.

Hosp. & Med. Ctr., 425 F.3d 126, 136 (2d Cir.2005). A jury's verdict should “rarely be disturbed”

and a motion for a new trial should be granted only if the court is convinced that the jury's verdict

is “seriously erroneous or a miscarriage of justice.” Farrior v. Waterford Bd. of Educ., 277 F.3d

633, 635 (2d Cir.2002) (per curiam); see also Carroll v. Cty. of Monroe, 712 F.3d 649, 653 (2d

Cir.2013); Raedle, 670 F.3d at 417–18. Such evaluations should be made with a “high degree of

deference ... to the jury's evaluation of witness credibility....” ING Global v. United Parcel Serv.

Oasis Supply Corp., 757 F.3d 92, 97–98 (2d Cir.2014) (quoting Raedle, 670 F.3d at 418).

       A court also has discretion to order a new trial if the verdict appears to be seriously

erroneous, and this “discretion includes overturning verdicts for excessiveness and ordering a new

trial without qualification, or conditioned on the verdict winner's refusal to agree to a reduction

(remittitur).” Graham, 128 F. Supp. 3d at 713 (quoting Gasperini v. Ctr. for Humanities, Inc., 518

U.S. 415, 433 (1996)); see also Roberts v. United Parcel Serv., Inc., 115 F.Supp.3d 344, 372–73,

2015 WL 4509994, at *24 (E.D.N.Y. July 27, 2015) (“A trial court may grant remittitur where it

deems a damages verdict excessive.”). . Remittitur is “the process by which a court compels a

plaintiff to choose between reduction of an excessive verdict and a new trial” Bick v. City of New

York, No. 95 Civ. 8781, 1998 WL 190283, at *20 (S.D.N.Y. April 21, 1998), citing, Earl v.

Bouxhard Transportation Co., 917 F.2d 1320, 1327 (2d Cir. 1990)). Moreover, remittitur is

appropriate “where the award is ‘intrinsically excessive’ in the sense of being greater than the

amount a reasonable jury could have awarded, although the surplus cannot be ascribed to a

particular, quantifiable error[.]” Shu-Tao Lin v. McDonnell Douglas Corp., 742 F.2d 45, 49 (2d

Cir. 1984).



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                                          ARGUMENT

      THE DAMAGES AWARDS SHOULD BE VACATED OR SUBSTANTIALLY
                   REDUCED AS A MATTER OF LAW

       The Court should vacate or remit the jury’s punitive damages awards as a matter of law

because they are not supported by the evidence and are excessive.

       It is well-established that punitive damages should not be awarded in § 1983 actions unless

“the defendant’s conduct is shown to be motivated by evil motive or intent, or when it involves

reckless or callous indifference to the federally protected rights of others.” Smith v. Wade, 461

U.S. 30, 56 (1983). Punitive damage awards must be set aside or reduced where it is so excessive

as to shock the judicial conscience and thereby constitute a denial of justice. See Zarcone v. Perry,

572 F.2d 52, 56 (2d Cir. 1978). To determine whether such an award is excessive, the Supreme

Court has identified three “guideposts” in its evaluation: “1) the degree of reprehensibility; 2) the

disparity between the harm or potential harm and the punitive damages award; and 3) the

difference between the remedy and the civil penalties authorized or imposed in comparable cases.”

DiSorbo v. Hoy, 343 F.3d 172, 186 (2d Cir. 2003) (citing BMW of N. Am. v. Gore, 517 U.S. 559,

574-75 (1996)).

       Here, none of the three Gore factors describe Defendants’ conduct.                      First,

“[r]eprehensibility . . . entails more than merely asking whether the conduct was unacceptable.”

Id. (citing Lee v. Edwards, 101 F.3d 805, 809 (2d Cir. 1996)). “[A]ggravating factors” to consider

in assessing the degree of reprehensibility include “1) whether a defendant’s conduct was violent

or presented a threat of violence; 2) whether a defendant acted with malice as opposed to mere

negligence; and 3) whether a defendant has engaged in repeated instances of misconduct.” Id.

(citing Gore, 517 U.S. at 576).




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       Here, the only demonstrable injuries sustained by Plaintiff were a few red marks, minor

injuries that hardly speak of a malicious assault where Plaintiff was allegedly kicked and punched

for approximately thirty to sixty seconds. (Nicholas Magalios Trial Transcript (“Magalios Tr.

Trans.”), 165:11-166:4, 239:2-7).2 Moreover, there is no evidence that Defendant Blount

physically assaulted Plaintiff or that he did, in fact, have time to intervene to stop any alleged

assault. Moreover, there is no evidence that any Defendant previously engaged in like conduct.

To the contrary, the evidence showed that there was virtually no interaction between any of the

Defendants and Plaintiff before or after this incident. (Magalios Tr. Trans., 267:6-268:11). In fact,

during the only interaction after this incident, Plaintiff contends he told Defendant Blount to “fuck

off,” and far from retaliate and assault Plaintiff, Blount just walked away. (Magalios Tr. Trans.,

268:12-23, 182:14-183:1). Accordingly, the reprehensibility factor does not weigh in favor of a

high punitive damages award. see DiSorbo, 343 F.3d at 183-188.

       The second guidepost also favors reducing the punitive damages because a significant

disparity exists between any evidence of harm and the awards. Under this factor, “courts must

ensure that the measure of punishment is both reasonable and proportionate to the amount of harm

to the plaintiff and to the general damages recovered.” State Farm Mut. Auto. Ins. Co. v. Campbell,

538 U.S. 408, 426 (2003).       Here, the total punitive damages ($950,000) is 19 times the

compensatory damages ($50,000). Even if the individual Defendants’ shares of liability are

considered separately, the ratios are still grossly disproportionate (Peralta 7:1; Bailey 7:1; Blount

5:1). In this Circuit, ratios above four-to-one are generally considered improper. See, e.g.,



2
 While Plaintiff alleged that he suffered a permanent shoulder injury necessitating surgery and the
need for continual pain medication, this argument was apparently rejected by the jury based on the
$50,000 compensatory damages award and plaintiff’s own testimony that he did not take any
medication or seek any medical treatment after his release from DOCCS custody, and works at
Local 52 building sets for movies and TV shows. (Magalios Tr. Trans., 281: 1-5; 282:1-10).
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Jennings v. Yurkiw, No. 14-cv-6377, 2018 WL 5630454, at *17 (E.D.N.Y. Oct. 31, 2018)

(collecting cases).3

       Finally, Gore’s third guidepost also favors remittitur. A review of comparable cases

indicate that the award is excessive. For instance, in DiSbarro, a police officer arrested one of the

plaintiffs after she spurned his advances at a bar. DiSbarro, 343 F.3d at 176-77. At the police

station, and while handcuffed “and defenseless,” that officer then grabbed her throat, slammed her

against the wall, choked her until she was unable to breath and began to lose her vision, threw her

onto the floor and struck her repeatedly. Id. at 177, 184. The plaintiff’s injuries were “well-

documented” by the medical evidence and included two large hematomas on her head and

significant bruising over her upper body, including “pressure point bruises” on her neck and ear,

which corroborated her testimony that she was choked. Id. at 179. The jury awarded a total of

$1,270,000 in punitive damages against that defendant. Id. at 181. However, on appeal, the

Second Circuit determined the verdict was excessive and ordered a new trial unless the plaintiff

agreed to remit almost $1.2 million and accept a $75,000 punitive damages award. Id. At 189.4

       Similarly, in Payne v. Jones, 711 F.3d 85, 88 (2d Cir. 2013), the defendant slapped the

plaintiff on the side of his head and, after the plaintiff kicked the defendant in the groin, the

defendant also punched the plaintiff in the face and neck seven to ten times and kneed him in the

back several times, all while the plaintiff was handcuffed. Plaintiff introduced medical evidence




3
  See Alla v. Verkay, 979 F. Supp. 2d 349, 374 (E.D.N.Y. 2013) (quoting Grabinski v. Blue Springs
Ford Sales, Inc., 203 F.3d 1024, 1026 (8th Cir. 2000), cert. denied, 531 U.S. 825 (2000)) (noting
absence of Second Circuit precedent when computing ratios where defendants are joint and
severally liable for compensatory damages but individually liable for punitive damages, and
adopting Eight Circuit approach of “‘divid[ing] the individual punitive damages awards by the
individual pro rata shares of the actual damages’”).
4
  The jury’s $400,000 compensatory damages award was also reduced to $250,000. DiSbarro, 343
F.3d at 185-86.
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that showed, inter alia, that he had a bloody and swollen face following the incident. Id. The jury

awarded the plaintiff $300,000 in punitive damages. Id. at 90. On appeal, the Second Circuit

determined the award was excessive, noting that in police misconduct cases in which a punitive

damages award of $150,000 or more was sustained, “the wrongs at issue” in those cases “were

more egregious” than in Jones. Id. at 105.

       The Court in Payne held that “our survey shows that we have never approved a punitive

award against an individual police officer as large as the $300,000 award here. We have described

awards ranging from $125,000 to $175,000 as “substantial,” King v. Macri, 993 F.2d 294, 299 (2d

Cir.1993), and we have ordered remittitur of awards as low as $75,000, see id. (reducing the award

to $50,000); see also DiSorbo, 343 F.3d 172, 189 (2d Cir.2003) (reducing a $1.275 million award

to $75,000); Lee, 101 F.3d at 813 (reducing a $200,000 award to $75,000 where defendant officer

struck plaintiff, who was handcuffed, 8 or 9 times in the head with his baton, causing plaintiff to

lose consciousness and sustain cuts and contusions to his head); King, 993 F.2d at 299 (reducing

a $175,000 award to $100,000).

       Here, in stark contrast to DiSbarro and Payne, Plaintiff was not restrained during the

incident and there was no evidence of any serious, medically-corroborated injury in the record

comparable to the injuries sustained by plaintiffs in those cases. Moreover, Plaintiff’s account of

what Defendants’ actions were falls well short of the egregious conduct shown in DiSbarro or

Payne. Accordingly, the punitive damage awards in this case are excessive. See Denman v.

Sanders, No. 05-cv-25, 2006 WL 452018 (S.D.N.Y. Feb. 24, 2006) (reducing $600,000 total

punitive damages award to $200,000 where defendant punched plaintiff once in the head, which

caused bleeding, pain, and a permanent ¼ inch scar).

       Defendants’ motion to vacate or remit the damages awards should therefore be granted.



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                                        CONCLUSION

        For the reasons set forth herein, Defendants respectfully request that this Court order a new

trial pursuant to Rule 59, or order Plaintiff to remit a substantial portion, if not the entirety, of the

$950,000 punitive damages awarded.

        Dated: New York, New York
               June 28, 2021
                                                                LETITIA JAMES
                                                                Attorney General
                                                                State of New York
                                                                Attorney for Defendants

                                                       By:      /s/ Jessica Acosta-Pettyjohn
                                                                Jessica Acosta-Pettyjohn
                                                                Bruce J. Turkle
                                                                Assistant Attorneys General
                                                                28 Liberty Street, 18th Floor
                                                                New York, NY 10005
                                                                Tel: (212) 416-6551; -8524
                                                                Jessica.acosta-pettyjohn@ag.ny.gov
                                                                Bruce.Turkle@ag.ny.gov




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